Case 1:21-cv-00072-LEW Document 73 Filed 02/28/22 Page 1 of 3                      PageID #: 327




                             UNITED STATES DISTRICT COURT
                                  DISTRICT OF MAINE


 MICHAEL WESCOTT,
                                                         1:21-cv-00072-LEW
                         Plaintiff

                  v.

 MAINE DEPARTMENT OF
 CORRECTIONS, et al.,

                         Defendants


                                     JOINT STATUS REPORT

          Plaintiff Michael Wescott and Defendants the Maine Department of Corrections, A.

Carlisle, C. Coyne, S. Dewitt, D. Dickson, K. Gendron, D. Girard, B. Heath, R. Lancaster, B.

MacDougall, M. Mack, M. Magnusson, M. Nee, L. Olsen, M. Saar, and J. Tardif (collectively, the

“Served Defendants”) submit this joint status report to the Court, as ordered by Judge Rich at ECF

No. 67.

          Plaintiff recently voluntarily dismissed Defendants FNU Cohen, FNU Welch, FNU

Nicholson, FNU Hawkinson, and FNU Berry. (ECF Nos. 70-72.) Plaintiff previously dismissed

Defendants D. Nee, Whelan, Hawkins, and Lehman (ECF Nos. 44, 52-54).

          Plaintiff has indicated that in place of FNU Garf (male and female), he wishes to name as

defendants MaryLou and Marshall McGrath. Similarly, in place of FNU Jordan, Plaintiff wishes

to name Shirley Antonowicz. In place of FNU Clark, Plaintiff wishes to name David Clock.




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Case 1:21-cv-00072-LEW Document 73 Filed 02/28/22 Page 2 of 3                      PageID #: 328




Plaintiff wishes to name Albert Jackson and Steven Rogers in place of FNU Jackson and FNU

Rogers. Plaintiff also wishes to name Thomas Olson in place of FNU Olsen. 1

       Defendants MaryLou McGrath, Marshall McGrath, Shirley Antonowicz, Steven Rogers,

David Clock, and Albert Jackson have agreed to waive formal service. However, MaryLou

McGrath, Marshall McGrath, Shirley Antonowicz, and David Clock are not named in the

Amended Complaint. Thus, no summons would issue in their name. To correct this, Plaintiff plans

to move to file a Second Amended Complaint to add these defendants and delete allegations

regarding the dismissed defendants. Without waiving any legal arguments or defenses and without

conceding any factual allegations, counsel for the Served Defendants consents to amendment for

the purposes of adding the names of these additional defendants and to delete defendants who have

been dismissed and the allegations against them.




1
 Defendant Thomas Olson is the only defendant from the Amended Complaint who remains to be served.
Counsel for the Served Defendants has been unable to reach him to determine whether he is willing to
waive formal service.



                                                     2
Case 1:21-cv-00072-LEW Document 73 Filed 02/28/22 Page 3 of 3        PageID #: 329




Dated: February 28, 2022              AARON M. FREY
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                                      Nee, L. Olsen, M. Saar, and J. Tardif


Dated: February 28, 2022
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                                        3
